                            IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NORTH CAROLINA
                                            WESTERN DIVISION
--------------------------------------------------------- X
JASON WILLIAMS,                                           :
                                                          :
                             Plaintiff,                   :
                                                          : Case No.: 5:19-cv-00475-BO
               vs.                                        :
                                                          :
AT&T MOBILITY, LLC,
                                                          :
                             Defendant.                   :
--------------------------------------------------------- X

             [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION
  TO COMPEL DEFENDANT AT&T MOBILITY, LLC TO PRODUCE DOCUMENTS

       UPON consideration of Plaintiff Jason Williams’ February 12, 2021, Motion to Compel

Defendant AT&T Mobility, LLC To Produce Documents (the “Motion to Compel”); the

accompanying Memorandum of Law; the Declaration of Christopher N. LaVigne, dated

February 12, 2021, and the exhibits thereto; and Defendant’s opposition to the Motion to

Compel; and due cause having been presented, it is hereby

       ORDERED that Plaintiff’s Motion to Compel discovery under Federal Rules of Civil

Procedure 26 and 34 and the Local Rules of the Eastern District of North Carolina 26.1 and 34.1

is GRANTED and that the Defendant must produce all documents, including specifically email

communications, responsive to Request Nos. 1, 2, 3, 7, and 8 of Plaintiff’s First Set of Requests

for Production of Documents within 14 days of the date of this Order; and it is hereby

       FURTHER ORDERED that pursuant to Federal Rule of Civil Procedure 37(a)(5)

Defendant shall pay Plaintiff’s reasonable expenses incurred in making the Motion to Compel,

including attorney’s fees in the amount of $25,086.00.




          Case 5:19-cv-00475-BO Document 59 Filed 02/12/21 Page 1 of 2
IT IS SO ORDERED.


Dated: ________ __, 2021

                                By:   _________________________________
                                      Hon. _____________




                                     2
         Case 5:19-cv-00475-BO Document 59 Filed 02/12/21 Page 2 of 2
